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                    IN THE UNITED STATES DISTRICT COURT,

                     DISTRICT OF UTAH, CENTRAL DIVISION



UNITED STATES OF AMERICA,                       Case No. 2:15-CR-00258 DB

                    Plaintiff,                  WRIT OF HABEAS CORPUS AD
                                                PROSEQUENDUM
v.
                                                District Judge Dee Benson
ROBERT JAMES CALDER,                            Magistrate Judge Dustin B. Pead

                    Defendant.



      TO: THE UNITED STATES MARSHAL FOR THE DISTRICT OF UTAH, OR
      TO ANY OTHER UNITED STATES MARSHAL, OR TO ANY AGENT OF
      IMMIGRATION AND CUSTOMS ENFORCEMENT AND TO ANY
      AUTHORIZED OFFICER IN WHOSE CUSTODY THE DEFENDANT MAY
      BEHELD:

GREETINGS:

      We command you that you bring the body of ROBERT JAMES CALDER, now

being confined in the Adult Detention Center, under the authority of the state of Utah, to

appear in United States District Court for the District of Utah before the Honorable

Dustin B. Pead, on August 10, 2015, at 2:15 p.m., of said day, and from day to day

thereafter, for purposes of sentencing on the charges pending against the defendant in the

said United States District Court, and in the above-entitled and pending case; and for
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final disposition; and hold the said defendant at all times in your custody as an agent of

the United States of America; that immediately after the conclusion of the proceedings

and final disposition of the above-entitled case in the United States District Court, you

return the defendant to the institution where the defendant was confined, under safe and

secure conduct, and have you then and there make a return upon this Writ.

       DATED this 5th day of August, 2015.




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                                                                    o,:, Juty U.S. Marshal--
